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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 ALLIANCE FOR RETIRED AMERICANS,
 et al.,

              Plaintiffs,
         v.                                            Civil Action No. 25-0313 (CKK)

 SCOTT BESSENT, in his official capacity as
 Secretary of the Treasury, et al.,
              Defendants.


                                          ORDER
                                      (February 5, 2025)

       The Court is in receipt of the Plaintiffs' [8] Motion for a Temporary Restraining Order.

Upon consideration of the Plaintiffs' Motion, it is hereby ORDERED that the parties shall

appear for a telephone conference on the record before this Court at 3:00 p.m. ET today,

February 5, 2025.

       It is further ORDERED that the parties shall come to today's conference prepared to

answer factual questions related to the Plaintiffs' allegations and set an expedited briefing

schedule on the Plaintiffs' Motion.

       It is further ORDERED that the Plaintiffs shall serve a copy of this Order on the

Defendants immediately upon receipt to ensure that the Defendants' counsel will appear at the

preliminary conference.



       SO ORDERED.

       Dated: February 5, 2025
                                                  COLLEEN KOLLAR-KOTELLY
                                                  United States District Judge
